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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

ROBERT V. WEAVER,

            Plaintiff,

v.                                       Case No.: 8:15-cv-01247-SDM-TGW

WELLS FARGO BANK, N.A.,

            Defendant.
                                /


                           SECOND MEDIATION REPORT

      After the Mediation Report (Doc. 33) was filed, the parties
renewed their settlement discussions.
      The case has been completely settled.
      Done November 3, 2015 in Tampa, Florida.
                                    Respectfully submitted,


                                    /s/ Peter J. Grilli
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     I HEREBY CERTIFY that November 3, 2015 I electronically filed the
foregoing document with the United States District Court Electronic
Case Filing system, which will electronically send copies to counsel of
record.


                                         /s/ Peter J. Grilli
                                         Peter J. Grilli, Esq.
